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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

CYWEE GROUP LTD.,
                                                CASE NO. 6:20-cv-00128-ADA-JCM
       Plaintiff,

v.
                                                JURY TRIAL DEMANDED
GOOGLE LLC,

       Defendant.


 PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR JURISDICTIONAL
                          DISCOVERY

       Defendant Google LLC’s (“Defendant” or “Google”) Response (Dkt. No. 18)

highlights the multiple factual disputes between the parties that support the

appropriateness of jurisdictional discovery. Given the factual disputes regarding

Plaintiff’s bases for jurisdiction, the Court should permit focused jurisdictional

discovery.

                       I.   ARGUMENT AND AUTHORITIES

             A.       CYWEE MADE A PRELIMINARY SHOWING OF JURISDICTION

       To be entitled to jurisdictional discovery, a plaintiff need only make a

preliminary showing of jurisdiction—that is CyWee “need only present ‘factual

allegations that suggest with reasonable particularity the possible existence of the

requisite contacts.’” Corder v. BBG Commc’ns, Inc., No. CIV.A. W-11-CA-00264, 2012

WL 3843691, at *10 (W.D. Tex. July 30, 2012) (Smith, J.) (emphasis added) (quoting

Fielding v. Hubert Burda Media, Inc., 415 F.3d 419, 429 (5th Cir. 2005)). CyWee has

pled three theories supporting the existence of jurisdiction: “[Google] (i) direct[ed] its



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fraudulent misrepresentations to Texas, (ii) knowingly and intentionally inject[ed]

itself into litigation pending in the State of Texas, and (iii) conspir[ed] with Texas

based entities Huawei and ZTE.” See Dkt. No. 4 (“First Amended Complaint”) ¶¶ 5–

6.

       In February 2017, CyWee filed a lawsuit against Samsung in the Eastern

District of Texas (the “EDTX Litigation”)—its first lawsuit against a maker of

Android devices. First Amended Complaint ¶34. Shortly thereafter, CyWee filed suit

against other makers of Android devices, including LG, Huawei, and ZTE. Id. at ¶ 35.

Early in the EDTX Litigation, around September 2017, Samsung first identified U.S.

Patent No. 7,089,148 (“Bachmann”) as a potentially invalidating prior art reference.

Id. at ¶ 48. At that point, CyWee had not yet sued Google, or even accused it or placed

it on notice of patent infringement. Nonetheless, unbeknownst to CyWee, Google

worked behind the scenes to form a joint defense agreement (“JDA”) that included all

of the Android device manufacturers CyWee had sued—including Samsung, LG,

Huawei, HTC and ZTE (the “Android Defendants”)—with the express purpose of

working together to invalidate CyWee’s Patents. Id. at ¶ 37. Through this JDA

organized by Google, Google led and conspired with the Android Defendants to

invalidate CyWee’s Patents, including by fraudulent means. Many of the Android

Defendants have North American headquarters in Texas and/or counsel in Texas who

actively participated in this conspiracy—accordingly, CyWee has a good faith belief

that meetings relating to this conspiracy occurred in Texas, particularly given the

fact that CyWee’s lawsuits against Samsung and Huawei were pending in Texas.




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       Moreover, CyWee has pled that Google, through the JDA it formed, purposely

injected itself into the EDTX Litigation. In furtherance of its conspiracy to invalidate

CyWee’s Patents, Google filed an IPR petition, which primarily relied upon the

Bachmann reference. Id. at ¶¶ 44–49. In that IPR petition, Google also fraudulently

failed to disclose the other JDA parties or the JDA itself. Id. Google realized that

honestly disclosing all real parties-in-interest would make its IPR petition time

barred and therefore prevent its institution. To ensure its IPR petition was instituted

and assertion of the Bachmann reference in the IPR would not be preempted or

compromised by an earlier ruling in the fast approaching EDTX Litigation, Google

and Samsung agreed and conspired that Samsung would drop the Bachmann

reference as prior art, so that the reference could be addressed solely in the IPR. 1 Id.

       These facts, at a minimum, show the possible existence of jurisdiction in

Texas. Accordingly, CyWee has met its burden of establishing entitlement to

jurisdictional discovery. The jurisdictional discovery sought is not a mere “fishing

expedition” as Google characterizes. Rather, jurisdictional discovery would allow

CyWee to gather further evidence that shows substantial portions of Google’s

fraudulent conspiracy are connected to Texas and were intended to impact the EDTX

Litigation. Therefore, jurisdictional discovery is proper.




1 Google’s IPR was not filed until June 14, 2018. The EDTX Litigation was set for
trial on May 13, 2019, and if the EDTX case had not been stayed, the decision on
whether Bachmann was invalidating art would have been made and reduced to a
judgment long before the Google IPR was decided, or even tried. To prevent that pos-
sibility, Google and Samsung cooperated in removing Bachmann from the EDTX Lit-
igation.


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            B.        THE DISCOVERY SOUGHT IS TAILORED AND PROPORTIONAL TO
                      THE NEEDS OF THIS CASE

       While CyWee seeks leave from the Court to use several forms of discovery, the

scope of discovery is narrowly tailored. Discovery at this stage is limited to

jurisdictional issues. For instance, CyWee seeks: (i) e-mails or any other forms of

communications relating to the EDTX Litigation (including communications between

Google’s and Samsung’s counsel) and the Google IPR, (ii) communications between

and among Google, Samsung, Huawei and ZTE relating to CyWee’s Patents and the

Google IPR, and (iii) communications between the JDA parties related to the

formation, content and fulfillment of the JDA. The tailored jurisdictional discovery

sought is proportional to the needs of this case. The burden of the discovery requested

is minimal (especially for a trillion-dollar company like Google) and goes to the heart

of the jurisdictional issues in dispute. Furthermore, staying further briefing on

Google’s Motion to Dismiss (Dkt. No. 11) until the completion of jurisdictional

discovery will allow the parties to better focus their briefing for the Court.

                                  II. CONCLUSION

       Having established the possible existence of Google’s jurisdictional contacts

with Texas, CyWee requests this Court grant leave to take jurisdictional discovery

and stay briefing on Google’s Motion to Dismiss (Dkt. No. 11) pending the completion

of jurisdictional discovery.




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Dated: May 22, 2020                       Respectfully submitted,


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                            CERTIFICATE OF SERVICE

    In accordance with Federal Rule of Civil Procedure 5 and Local Rule CV-5, I

hereby certify that a true and correct copy of the foregoing has been served on all

counsel of record via the CM/ECF electronic filing system on May 22, 2020.


                                              /s/ Michael W. Shore
                                              Michael W. Shore




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